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                                UNITED STATES DISTRICT COURT FOR
                                THE SOUTHERN DISTRICT OF FLORIDA
                                        FORT LAUDERDALE


    ALEJANDRO ORTIZ,                                       CASE NO.

                   Plaintiff,

    vs.


    CAVIAR AND CAVIAR, LLC, MICHAEL
    E. JALILEYAN, individually, and LADAN
    SAEMI, individually,

                   Defendants.
                                                 /

                COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL

           Plaintiff, ALEJANDRO ORTIZ (“Plaintiff” or “ORTIZ”), by and through undersigned

    counsel, hereby files this Complaint for Damages and Demand for Jury Trial, against

    Defendants, CAVIAR AND CAVIAR, LLC, a Florida for profit limited liability company

    (“CAVIAR” or “Defendant”), MICHAEL E. JALILEYAN (“JALILEYAN”), an individual, and

    LADAN SAEMI (“SAEMI”), an individual, and alleges the following:

                                    JURISDICTION AND VENUE

           1.      Jurisdiction in this Court is proper as this action includes a claim for unpaid

    overtime wages and retaliation under the Fair Labor Standards Act, as amended (29 U.S.C. §201, et

    seq.) (“FLSA”) and several additional compulsory claims under the laws of the State of Florida.

           2.      The jurisdiction of the Court over this controversy is proper pursuant to 28 U.S.C.

    §1331 as these claims arose under 29 U.S.C. §216(b).

           3.      Venue is appropriate in the United States Southern District of Florida, Fort

    Lauderdale division, as the causes of action alleged by Plaintiff occurred in Broward County,

    Florida and the principal place of residency and/or place of business of the Defendants is Broward
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    County, Florida.

                                                 PARTIES

           4.      At all times material to this action, Plaintiff was a resident of Broward County,

    Florida, and is otherwise sui juris.

           5.      At all times material to this action, Defendant, CAVIAR, was, and continues to

    be, a Florida for profit limited liability company, doing business throughout the United States,

    with its principal place of business situated at 5527 N. Nob Hill Road, Sunrise, Florida, and is

    otherwise sui juris.

           6.      Upon information and belief, Defendant, JALILEYAN, was, and continues to be,

    an individual residing in Broward County, Florida, and is otherwise sui juris.

           7.      Defendant, JALILEYAN, is a managing member of Defendant CAVIAR, and at

    all times material hereto has, and continues to have, a significant ownership interest in CAVIAR,

    exercises day-to-day control of operations of CAVIAR and is involved in the supervision and

    payment of CAVIAR’s employees.

           8.      Upon information and belief, Defendant, SAEMI, was, and continues to be, an

    individual residing in Broward County, Florida, and is otherwise sui juris.

           9.      Defendant, SAEMI, is a manager of Defendant, CAVIAR, and at all times

    material hereto has, and continues to have, a significant ownership interest in CAVIAR,

    exercises day-to-day control of operations of Caviar and is involved in the supervision and

    payment of CAVIAR’s employees.

           10.     Defendants, CAVIAR, JALILEYAN and SAEMI, are collectively referred to

    hereafter as “Defendants.”

           11.     At all times material to this action, Plaintiff was “engaged in commerce” within



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    the meaning of §206 and §207 of the FLSA.

            12.    At all times material to this action, Plaintiff was an “employee” of CAVIAR

    within the meaning of the FLSA.

            13.    At all times material to this action, CAVIAR was Plaintiff’s “employer” within

    the meaning of the FLSA.

            14.    Defendant CAVIAR was, and continue to be, an “employer” within the meaning

    of the FLSA.

            15.    At all times material to this action, Defendant, CAVIAR, was, and continues to

    be, an “enterprise engaged in commerce” and an enterprise engaged in the “production of goods

    for commerce” within the meaning of the FLSA.

            16.    Based upon information and belief, the annual gross revenue of CAVIAR was in

    excess of $500,000.00 per annum during the relevant time periods.

            17.    At all times material to this action, CAVIAR had two (2) or more employees

    handling, selling, or otherwise working on goods or materials that had been moved in or

    produced for commerce, which were used directly in furtherance of Defendants’ commercial

    activities.

            18.    At all times material hereto, the work performed by the Plaintiff was directly

    essential to the business performed by Defendants.

                                      STATEMENT OF FACTS

            19.    Upon information and belief, on or about March 4, 2019, ORTIZ began working

    for CAVIAR as a non-exempt salaried employee, earning a salary of $45,000.00 annually, or an

    hourly rate of $21.63 per hour.

            20.    ORTIZ’s duties with CAVIAR consisted of non-managerial general warehouse



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    and maintenance duties, including, but not limited to, making local deliveries, working in the

    warehouse packaging and shipping caviar, obtaining bids from contractors, making returns and

    purchases at Home Depot and other miscellaneous duties.

              21.   ORTIZ worked for Defendants from March 4, 2019 through July 2, 2019, at

    which time Plaintiff’s employment relationship with Defendants was terminated by Defendants

    in retaliation against Plaintiff for ORTIZ’s asserting his rights under the FLSA.

              22.   As a salaried employee earning $45,000 annually, ORTIZ was to receive bi-

    weekly paychecks in the amount of $1,730.77, representing two weeks of pay at the agreed upon

    salary.

              23.   As a non-exempt employee of CAVIAR, ORTIZ was also entitled to overtime

    wages at an hourly rate of one and one-half ORTIZ’s regular hourly rate of $32.45.

              24.   During ORTIZ’s employment with CAVIAR, Plaintiff often worked in excess of

    forty (40) hours per week, including working Saturdays in the furtherance of Defendants’

    business.

              25.   However, CAVIAR failed to compensate ORTIZ for overtime hours worked in

    excess of forty (40) hours.

              26.   ORTIZ worked a minimum of thirteen Saturdays, in which Defendants failed to

    compensate ORTIZ whatsoever, including failing to pay ORTIZ his earned overtime wages at an

    hourly rate of $32.45.

              27.   At all times material to this Complaint, Defendants failed to comply with the

    FLSA by failing to properly pay overtime compensation.

              28.   ORTIZ asserted his rights under the FLSA, by complaining to his manager and

    boss, Defendant, JALILEYAN, regarding the fact that Plaintiff was working over forty (40)



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    hours per week and Defendants were failing to compensate ORTIZ for those overtime wages.

           29.    On or about April 4, 2019, Defendants began stealing ORTIZ’s wages by paying

    ORTIZ less that the agreed upon bi-weekly amount of $1,730.77.

           30.    For example, for the pay periods ending April 18, 2019, May 16, 2019, May 30,

    2019, June 13, 2019, June 27, 2019 and July 11, 2019, Defendants shorted ORTIZ on his

    paychecks, failing to pay ORTIZ all his earned wages.

           31.    Defendants wage theft continued throughout the remainder of ORTIZ’s

    employment, with the amount of wages being stolen by the Defendants increasing to various

    degrees.

           32.    Defendants wage theft against ORTIZ was done in retaliation for ORTIZ’s

    complaining and asserting his rights under the FLSA.

           33.    Defendant committed further wage theft against ORTIZ by improperly

    withholding and retaining various sums from ORTIZ’s paychecks.

           34.    Defendants improperly withheld and retained a sum of $400.00 from each of

    ORTIZ’s paychecks for the pay periods ending May 16, 2019, May 30, 2019, June 13, 2019,

    June 27, 2019 and July 11, 2019.

           35.    Defendants’ failure to pay Plaintiff any wages at all, or overtime pay for hours

    worked over 40 hours per week, constitutes serious violations in the minimum wage laws under

    §206 of the FLSA and the overtime laws under §207 of the FLSA.

           36.    Upon information and belief, the majority of Plaintiff’s pay and time records are

    in the possession of Defendants.

           37.    However, upon information and belief, it is alleged that Defendants failed to

    maintain proper and accurate time records, as mandated by §211 of the FLSA.



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           38.     Defendants’ failure and/or refusal to properly compensate ORTIZ under the

    standards required under the FLSA was willful and unlawful.

           39.     In fact, Defendants engaged in this systematic scheme of exploiting workers for

    their labor, while refusing to pay employees, including ORTIZ, their agreed upon wages and

    earned overtime wages.

           40.     JALILEYAN and SAEMI, as owners and managers of CAVIAR, willfully and

    with malice, retaliated against ORTIZ for ORTIZ’s actions in asserting his rights under the

    FLSA, forcing ORTIZ out of the employs of CAVIAR by increasingly withholding ORTIZ’s

    earned wages to a point where ORTIZ could not afford to continue working for Defendants.

           41.     Plaintiff has retained the law firm of MILL STONE LEGAL GROUP, LLC to

    represent Plaintiff in this matter and has agreed to compensate the firm a reasonable fee for its

    services.

           42.     All conditions precedent to the filing of his action have either been complied with,

    satisfied or waived.

                             COUNT I – ACTION FOR UNPAID WAGES
                                (CAVIAR, JALILEYAN and SAEMI)

           43.     Plaintiff re-alleges paragraphs 1 through 42 above as if fully stated herein.

           44.     Defendants have a duty under Florida Law to pay Plaintiff all earned wages.

           45.     Defendants failed to pay Plaintiff his earned and agreed upon wages for hours

    Plaintiff worked during the course of his employment with CAVIAR.

           46.     CAVIAR’s owners, JALILEYAN and SAEMI, intentionally and purposely

    altered CAVIAR’s payroll records so that ORTIZ’s paychecks were less than the amount due

    and owing ORTIZ.

           47.     To date, Defendants failed to fully compensate Plaintiff for all the wages earned

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    by Plaintiff, causing Plaintiff to suffer damages in the form of unpaid wages and lost interest.

           48.     As a result of Defendants’ actions, Plaintiff has incurred attorney’s fees and

    taxable costs in bringing this action.

           49.     Under Fla. Stat. §448.08, Plaintiff is entitled to the recovery of costs and

    attorney’s fees for successfully prevailing in this action.

           WHEREFORE, Plaintiff, ALEJANDRO ORTIZ, respectfully requests the Honorable

    Court to enter Judgment against Defendants, CAVIAR & CAVIAR, LLC, MICHAEL E.

    JALILEYAN, individually and LADAN SAEMI, individually, in favor of Plaintiff, for unpaid

    wages, costs, attorney’s fees, pre-judgment and post-judgment interest, and any other relief this

    Court deems just and proper.

                         COUNT II - RECOVERY OF UNPAID OVERTIME
                              (CAVIAR, JALILEYAN and SAEMI)

           50.     Plaintiff re-alleges paragraphs 1 through 42 above as if fully stated herein.

           51.     Plaintiff was employed by Defendant, CAVIAR, as a non-exempt salaried

    employee, and entitled to receive overtime compensation at a rate of $32.45.

           52.     Plaintiff regularly worked over forty (40) hours per week during Plaintiff’s

    employment with CAVIAR, including a minimum of thirteen (13) Saturdays, in which all hours

    worked were in excess of forty (40) hours for the respective week.

           53.     Pursuant to 29 U.S.C. §207(a)(1), ORTIZ is entitled to be paid one and one-half

    times ORTIZ’s regular pay rate for each hour ORTIZ worked in excess of forty (40) hours of work

    per week.

           54.     Defendants willfully failed to pay ORTIZ overtime wages, or any wage whatsoever,

    for all hours worked by ORTIZ in excess of forty (40) hours per week.

           55.     By reason of the willful and unlawful acts of the Defendants, CAVIAR,

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    JALILEYAN and SAEMI, Plaintiff has suffered damages in the form of unpaid overtime wages,

    pre-judgment interest, post judgment interest, attorney’s fees and costs.

           56.     Plaintiff is entitled to recover Plaintiff’s damages from Defendants, including

    recovery of attorney’s fees and costs in litigating this matter, pursuant to 29 U.S.C. §216(b).

           57.     As a result of Defendants’ willful violations of §207 of the FLSA, ORTIZ is also

    entitled to recover liquidated damages in the amount equal to that which he is owed as unpaid

    overtime compensation.

           58.     At all times material hereto, Defendants failed, and continues to fail to maintain

    proper and accurate time records as mandated by §211 of the FLSA.

           WHEREFORE, Plaintiff, ALEJANDRO ORTIZ, seeks the entry of Judgment against

    Defendants, CAVIAR & CAVIAR, LLC, MICHAEL E. JALILEYAN, individually, and

    LADAN SAEMI, individually, and in favor of Plaintiff, for unpaid overtime wages, an equal

    amount of liquidated damages, punitive damages, pre-judgment interest, post judgment interest

    and attorney’s fees and costs in bringing this action, and any other relief this Court deems just

    and proper.

                      COUNT III – RETALIATION CLAIM UNDER §215(a)(3)

           59.     Plaintiff re-alleges paragraphs 1 through 42 above as if fully stated herein.

           60.     Plaintiff made complaints to JALILEYAN regarding his rights under the FLSA,

    including Defendants failure to pay ORTIZ earned overtime wages and regular wages under

    ORTIZ’s agreed upon salary of $45,000.00 annually.

           61.     As a direct result of ORTIZ’s complaints to Defendants in asserting Plaintiff’s

    rights under the FLSA, Defendants retaliated against ORTIZ.

           62.     Defendants retaliation included, but was not limited to, treating ORTIZ less



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    favorable than other employees, paying ORTIZ wages that were less than the wages that were

    agreed to by the parties and earned by ORTIZ, improperly withholding and retaining unauthorized

    sums from ORTIZ’s paychecks, forcing Ortiz to perform tasks outside the scope of Plaintiff’s

    employment in an attempt to force ORTIZ to voluntarily resign or quit, and eventually terminating

    and/or forcing Plaintiff out of the employs of CAVIAR.

           63.     Pursuant to §216(b) of the FLSA, Plaintiff is entitled to recover lost wages,

    liquidated damages, front pay, reasonable attorney’s fees, costs, pre-judgment and post-judgment

    interest, injunctive relief, punitive damages and reinstatement.

           WHEREFORE, Plaintiff, ALEJANDRO ORTIZ, seeks the entry of Judgment against

    Defendants, CAVIAR & CAVIAR, LLC, MICHAEL E. JALILEYAN, individually, and

    LADAN SAEMI, individually, and in favor of Plaintiff, for lost wages, front pay, liquidated

    damages, pre-judgment and post-judgment interest, punitive damages, reasonable attorney’s fees

    and costs, and any other relief this Court deems just and proper.

                                             JURY DEMAND

           Plaintiff demands trial by jury on all issues so triable as a matter of right by jury.

    Dated: September 26, 2019.

                                                   Respectfully submitted,

                                                   MILL STONE LEGAL GROUP, LLC

                                                   /s/ Matthew R. McGuigan
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